Case 3:18-cv-00461-RCJ-WGC Document 48-1 Filed 05/24/19 Page 1 of 2




                         Exhibit 1




                        Exhibit     1
    Case 3:18-cv-00461-RCJ-WGC Document 48-1 Filed 05/24/19 Page 2 of 2



                         DECLARATION OF LUKE BUSBY, ESQ.


      I, Luke Busby, Esq, declare that the assertions in this Declaration are true and
correct, based upon my personal knowledge, and that I am competent to testify to the facts
stated below:
      1.        I am an attorney-at-law admitted to practice law in the State of Nevada;
      2.        I am counsel for Michael Erwine in Case No.: 3:18-cv-00461-RCJ WGC;
before the Honorable Robert Jones in the United States District Court, District of Nevada;
      3.        I have read the foregoing Motion for Stay Pending Appeal and the factual
statements therein are true and correct to the best of my knowledge;
      4.        Good cause exists to grant the Motion for Stay because of the potential for
irreparable harm to Mr. Erwine’s case should a stipulation and order for dismissal be
signed and filed by counsel;
      5.        Before filing the Motion, I conferred by telephone with opposing counsel for
the Defendants, Ms. Kathy Parks, who indicated that the Defendants would not oppose a
stay of this case pending the appeal of the Court’s decision.
      I declare under penalty of perjury that the foregoing is true and correct.


                             5/24/2019
                Executed on: _____________________


                                     By:_________________________________________
                                            Luke Busby, Esq.
